
In re Laird, Eric; —Defendant(s); applying for writ of certiorari and/or review, supervisory and/or remedial writs; Parish of Orleans, Criminal District Court, Div. “D”, No. 271-683; to the Court of Appeal, Fourth Circuit, No. 97KW-0891.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La. 9/5/95), 660 So.2d 1189; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La. 1/12/96), 665 So.2d 1172; La.C.Cr.P. art. 930.4(D); State ex rel. Laird v. State, 623 So.2d 1301 (La.1993).
LEMMON, J., not on panel.
